     Case 2:21-cv-05842-DSF-MAA Document 1 Filed 07/20/21 Page 1 of 5 Page ID #:1




 1   TRACY L. WILKISON
     Acting United States Attorney
 2   THOMAS D. COKER
     Assistant United States Attorney
 3   Chief, Tax Division
     GAVIN L. GREENE (Cal. Bar No. 230807)
 4   Assistant United States Attorney
          Federal Building, Suite 7211
 5        300 North Los Angeles Street
          Los Angeles, California 90012
 6        Telephone: (213) 894-4600
          Facsimile: (213) 894-0115
 7        E-mail: Gavin.Greene@usdoj.gov
 8   Attorneys for the United States of America
 9
                         UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11
                                 WESTERN DIVISION
12
13 Quality Loan Service Corp.,                  Case No. CV 2:21-cv-05842
14              Plaintiff,                      Notice of removal of civil action under
                                                28 U.S.C. § 1444 (suit brought under
15        v.                                    28 U.S.C. § 2410)
16 United States of America, et al.,
17              Defendants.
18
19
20
21
22
23
24
25
26
27
28

                                            1
     Case 2:21-cv-05842-DSF-MAA Document 1 Filed 07/20/21 Page 2 of 5 Page ID #:2




 1   TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
 2   CENTRAL DISTRICT OF CALIFORNIA:
 3         The United States of America removes to this Court the action
 4   described below:
 5         1.    This interpleader action is pending in the Superior Court for the
 6   County of Santa Barbara, entitled In re 2751 Hauser Blvd., Los Angeles, CA
 7   90016, case number 21STCP00971.
 8         2.    The petition was filed on March 26, 2021. Attached as Exhibit 1
 9   is a copy of the petition.
10         3.    The United States claims an interest in the proceeds based on the
11   notice of federal tax lien filed against Edna Kuffour for her income tax
12   liabilities for tax years 2009, 2010, and 2011. The property at issue was held
13   by Gyapomaa Kosei Inc., which is the nominee or alter ego of Edna Kuffour.
14         4.    This case may be removed to the United States District Court by
15   the United States of America under 28 U.S.C. § 1444, which provides that
16   the United States may remove any action brought against it under 28 U.S.C.
17   § 2410, including an action in interpleader, or in the nature of an
18   interpleader under 28 U.S.C. § 2410(a)(5). Actions under Cal. Civ. Code
19   2924j are interpleader actions for purposes of 28 U.S.C. § 2410. Quality
20   Loan Service Corp. v. 24702 Pallas Way, Mission Viejo, California 92691, 635
21   F.3d 1128, 1131-32 (9th Cir. 2011). The United States has an unqualified
22   right to remove actions brought against it under 28 U.S.C. § 2410. See, e.g.,
23   Hussain v. Boston Old Colony Ins. Co., 311 F.3d 623, 629 (5th Cir. 2000);
24   Hood v. United States, 256 F.2d 522, 525-26 (9th Cir. 1958).
25         5.    The United States may remove an action to District Court within
26   30 days after the receipt, through service or otherwise, of a copy of the initial
27   pleading setting forth the claim. 28 U.S.C. § 1446(b)(1).
28

                                             2
     Case 2:21-cv-05842-DSF-MAA Document 1 Filed 07/20/21 Page 3 of 5 Page ID #:3




 1         6.   The United States was not served with a copy of the petition as
 2   required by 28 U.S.C. § 2410(b) and therefore the 30-day period within which
 3   to remove the action has not started to run and the notice is timely.
 4         7.   Based on the foregoing, the removal of this action by the United
 5   States is proper under 28 U.S.C. § 1444.
 6
                                  Respectfully submitted,
 7
                                  TRACY L. WILKISON
 8
                                  Acting United States Attorney
 9                                THOMAS D. COKER
10                                Assistant United States Attorney
                                  Chief, Tax Division
11
12
     Dated: July 20, 2021         /s/
13
                                  GAVIN L. GREENE
14                                Assistant United States Attorney
15                                Attorneys for the United States of America

16
17
18
19
20
21
22
23
24
25
26
27
28

                                            3
     Case 2:21-cv-05842-DSF-MAA Document 1 Filed 07/20/21 Page 4 of 5 Page ID #:4




1
                                  PROOF OF SERVICE BY MAILING
2
            I am over the age of 18 and not a party to the within action. I am employed by the Office
3
     of the United States Attorney, Central District of California. My business address is 300 North
4
     Los Angeles Street, Suite 7211, Los Angeles, California 90012.
5
            On July 20, 2021, I served Notice of removal of civil action under 28 U.S.C. § 1444
6
     (suit brought under 28 U.S.C. § 2410) with Exhibit 1; and Civil Cover Sheet on each person
7
     or entity name below by enclosing a copy in an envelope addressed as shown below and placing
8
     the envelope for collection and mailing on the date and at the place shown below following our
9    ordinary office practices. I am readily familiar with the practice of this office for collection and
10   processing correspondence for mailing. On the same day that correspondence is placed for
11   collection and mailing, it is deposited in the ordinary course of business with the United States
12   Postal Service in a sealed envelope with postage fully prepaid.
13    Quality Loan Service Corp.
      McCarthy & Holthus, LLP
14    Melissa Robbins Coutts, Esq. SBN 246723
15    Matthew E. Podmenik, Esq. SBN 219364
      2763 Camino Del Rio S, Suite 100
16    San Diego, CA 92108

17    Josephine Hardwell
      Raffy Boulgourjian
18    Law Offices of Raffy Boulgourjian
19    100 N. Brand Blvd., Suite 200
      Glendale, CA 91203
20
      Franchise Tax Board
21    Franchise Tax Board
      Attn: Michele Thompson
22    P.O. Box 1720, MS: A-260
23    Rancho Cordova, CA 95741-1720

24    Estate of Edna Kuffour
      Comstock & Sharpe, Inc.
25    Attn: Richard Sharpe, Esq.
      11100 Washington Blvd.
26    Culver City, CA 90232-3988
27
28
     Case 2:21-cv-05842-DSF-MAA Document 1 Filed 07/20/21 Page 5 of 5 Page ID #:5




1     City of Los Angeles
      City of Los Angeles
2     Department of Building and Safety Financial Services Division
      201 N. Figueroa St., 9th Floor
3     Los Angeles, CA 90012
4
      Gyapomaa Kosei, Inc.
5     Richard W. Sharpe
      11100 Washington Blvd.
6     Culver City, CA 90232
7
8           Date of mailing July 20, 2021.       Place of mailing: Los Angeles, California

9           I declare under penalty of perjury under the laws of the United States of America that the

10   foregoing is true and correct.

11          I declare that I am employed in the office of a member of the bar of this court at whose

12   direction the service was made.

13          Executed on July 20, 2021 Los Angeles, California.

14                                               ____/s/_________________
                                                 Maria Luisa Q. Parcon
15
16
17
18
19
20
21
22
23
24
25
26
27
28
